                                                                                        Form 1
                                                                                                                                                                                                        Page: 1
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:  20-50568                                                                                                                      Trustee Name:        (520210) Kathryn A. Belfance
Case Name:   GRACHANIN, STEPHEN                                                                                                          Date Filed (f) or Converted (c): 03/11/2020 (f)
             GRACHANIN, ANGELA
                                                                                                                                         § 341(a) Meeting Date:       05/05/2020
For Period Ending:       12/31/2020                                                                                                      Claims Bar Date:

                                                     1                                           2                              3                            4                      5                          6

                                             Asset Description                                Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                  Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                               Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                  and Other Costs)                                                             Remaining Assets

    1        2546 Paxton Ave., Akron, OH 44312-0000, Summit County                                   95,710.00                                0.00                                              0.00                        FA

    2        2019 Honda Civic                                                                               0.00                              0.00                                              0.00                        FA

    3        2019 Honda HR-V                                                                                0.00                              0.00                                              0.00                        FA

    4        Odyssey 2015 Honda                                                                      13,313.00                                0.00                                              0.00                        FA

    5        Household goods & furnishings                                                            1,500.00                                0.00                                              0.00                        FA

    6        Personal clothing                                                                            800.00                              0.00                                              0.00                        FA

    7        Business checking: Civista                                                                   900.00                              0.00                                              0.00                        FA

    8        Checking: Huntington                                                                          92.49                              0.00                                              0.00                        FA

    9        Checking: Discover                                                                           135.11                              0.00                                              0.00                        FA

    10       Checking: Chase                                                                               25.56                              0.00                                              0.00                        FA

    11       Health Savings Account: Checking account Civista                                             160.00                              0.00                                              0.00                        FA

    12       A/R for work in progress (u)                                                                   0.00                              1.00                                              0.00                    1.00

   12        Assets               Totals       (Excluding unknown values)                        $112,636.16                                $1.00                                           $0.00                      $1.00



         Major Activities Affecting Case Closing:
                                          12/30/2020-
                                          Trustee to review accounts receivable for debtor's practice.

         Initial Projected Date Of Final Report (TFR):                       12/31/2021                             Current Projected Date Of Final Report (TFR):                       12/31/2021
